                     IN THE COURT OF APPEALS OF NORTH CAROLINA

                                       2021-NCCOA-426

                                        No. COA20-411

                                     Filed 17 August 2021

     Haywood County, 18 CRS 51349-50, 18 CRS 643

     STATE OF NORTH CAROLINA

                    v.

     CORDERO DEON NEWBORN, Defendant.


           Appeal by Defendant from judgment entered 25 October 2019 by Judge

     Thomas H. Lock in Haywood County Superior Court. Heard in the Court of Appeals

     8 June 2021.


           Attorney General Joshua H. Stein, by Associate Attorney General Jarrett
           McGowan, for the State.

           Joseph P. Lattimore for defendant-appellant.


           MURPHY, Judge.


¶1         When the charge of possession of a firearm by a felon is brought in an

     indictment containing other related offenses, the indictment for that charge is

     rendered fatally defective and invalid, thereby depriving a trial court of jurisdiction

     over it. See State v. Wilkins, 225 N.C. App. 492, 497, 737 S.E.2d 791, 794 (2013).

     When a trial court makes a conclusion of law while denying a motion to suppress, it

     must do so with the support of adequate findings of fact that resolve any material

     conflicts presented by the evidence.
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¶2         Defendant was charged with possession of a firearm by a felon and two related

     offenses in a single indictment. The State’s failure to obtain a separate indictment

     for the charge rendered it fatally defective and invalid, and did not invoke the trial

     court’s jurisdiction. According to binding caselaw, we vacate Defendant’s conviction

     for possession of a firearm by a felon.

¶3         Additionally, the trial court’s ruling on Defendant’s Motion to Suppress was

     based on improper findings of fact regarding a material conflict in the evidence of the

     firearm’s accessibility. Given the absence of appropriate findings of fact pertaining

     to this material conflict, the trial court improperly concluded that the firearm was

     readily accessible so as to objectively create probable cause that it was evidence of a

     crime. We therefore remand this matter with instructions for the trial court to make

     adequate findings of fact resolving the material conflict regarding the firearm’s

     accessibility presented by Defendant’s Motion to Suppress.

¶4         Finally, because the trial court’s findings on remand will directly impact the

     validity of Defendant’s non-vacated convictions, Defendant’s third issue on appeal

     regarding the trial court’s omission of an actual knowledge requirement from its jury

     instruction on possession of a firearm with an altered/removed serial number, and

     related ineffective assistance of counsel claim, are not yet ripe for our consideration

     and are therefore dismissed without prejudice.

                                        BACKGROUND
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¶5         At approximately 11:30 p.m. on 25 April 2018 in Maggie Valley, an on-duty

     patrol officer, Sergeant Ryan Flowers, ran the registration plate of a vehicle driving

     on U.S. Highway 19 through his patrol vehicle’s mobile data terminal (“MDT”). The

     MDT indicated that Defendant Cordero Deon Newborn was the registered owner of

     the vehicle and had a permanently revoked driver’s license.              Based on this

     information, Sgt. Flowers pursued the vehicle and checked the MDT for pending

     criminal cases, which reflected Defendant had four counts of misdemeanor driving

     while license revoked-not impaired revocation cases pending. After catching up with

     the vehicle, Sgt. Flowers initiated a traffic stop.

¶6         Sgt. Flowers verified Defendant was the driver of the vehicle. Immediately

     upon interacting with Defendant and his passenger, Samuel Nathanial Angram, III,

     Sgt. Flowers identified the smell of marijuana emanating from the vehicle. When he

     inquired about the odor, Angram reportedly stated “[t]here’s none in here, man. I

     just smoked a little in the car a while ago.” Citing “probable cause . . . [to] believe []

     marijuana was located in the vehicle” based on the odor and Angram’s admission,

     Sgt. Flowers decided to conduct a search of the vehicle, and called for backup.

¶7         Sergeant Jeff Mackey arrived on the scene. Angram indicated to Sgt. Mackey

     that there was a firearm underneath the passenger seat, which Sgt. Mackey located.

     While searching the driver’s side of the vehicle–where the smell of marijuana was

     reportedly most pungent–Sgt. Flowers felt and visually identified the handgrip of a
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     pistol between the vehicle’s center console panel and carpeting, and placed Defendant

     under arrest for carrying a concealed weapon in violation of N.C.G.S. § 14-269(a).

     Sgt. Flowers then removed the vehicle’s plastic center console panel from the center

     and retrieved the firearm–a loaded, .45-caliber semiautomatic handgun that was

     missing a serial number on its frame and barrel.1

¶8          On 6 August 2018, Defendant was indicted for possession of a firearm by a

     felon in violation of N.C.G.S. § 14-415.1; possession of a firearm with an

     altered/removed serial number in violation of N.C.G.S. § 14-160.2(b); and carrying a

     concealed weapon in violation of N.C.G.S. § 14-269(a). In a separate indictment,

     Defendant was charged with attaining habitual felon status as defined by N.C.G.S. §

     14-7.1.

¶9          On 11 March 2019, Defendant filed a pretrial Motion to Suppress any evidence

     seized during the traffic stop. The motion was heard and denied on 22 October 2019,

     after the trial court found that Sgt. Flowers described the firearm as “readily

     accessible.” However, the trial court made no findings as to the firearm’s readily

     accessible location. At trial, Defendant did not raise a renewed objection when

     materials pertaining to the firearm seized from the center console area were



            1 While Sgt. Flowers testified that he could not “recall whether [it was] on the roadside

     or after [he] transported [Defendant] to the detention facility[,]” his testimony established
     that at some point after he retrieved the firearm from the vehicle’s center console area, he
     discovered that Defendant was a convicted felon.
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       introduced and admitted into evidence.

¶ 10          The jury found Defendant guilty of possession of a firearm by a felon,

       possession of a firearm with an altered/removed serial number, and carrying a

       concealed weapon.      As a result of the guilty verdicts, Defendant pled guilty to

       attaining habitual felon status.2       On 25 October 2019, the trial court entered

       judgment, and Defendant provided oral notice of appeal.

¶ 11          Defendant raises three issues on appeal: (A) the trial court lacked jurisdiction

       over the charge of possession of a firearm by a felon because it was not contained in

       a separate indictment as required by the governing statute; (B) the trial court plainly

       erred in denying Defendant’s pretrial Motion to Suppress; and (C) the trial court

       plainly erred by failing to instruct the jury on the requirement of actual knowledge

       as an element of the offense of possession of a firearm with an altered/removed serial

       number.

                                               ANALYSIS

                    A. Indictment for Possession of a Firearm by a Felon

¶ 12          “We review the sufficiency of an indictment de novo.” Wilkins, 225 N.C. App.



              2 Defendant also pled guilty to a Class 3 misdemeanor of driving while license revoked-

       not an impaired revocation, but does not make any argument pertaining to that offense on
       appeal. His appeal of that conviction is therefore deemed abandoned. See State v. Harris, 21
       N.C. App. 550, 551, 204 S.E.2d 914, 915 (1974) (stating that issues “not set out in [an]
       appellant’s brief, or in support of which no reason or argument is stated or authority cited,
       will be taken as abandoned”); N.C. R. App. P. 28(b)(6) (2021).
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       at 495, 737 S.E.2d at 793. While Defendant failed to challenge his indictment for the

       charge of possession of a firearm by a felon at the trial court, “where an indictment is

       alleged to be invalid on its face, thereby depriving the trial court of its jurisdiction, a

       challenge to that indictment may be made at any time, even if it was not contested in

       the trial court.” State v. Wallace, 351 N.C. 481, 503, 528 S.E.2d 326, 341, cert. denied,

       531 U.S. 1018, 148 L. Ed. 2d 498, reh’g denied, 531 U.S. 1120, 148 L. Ed. 2d 784
       (2000).

¶ 13          N.C.G.S. § 14-415.1(c) dictates “[t]he indictment charging [a] defendant [with

       possession of a firearm by a felon] shall be separate from any indictment charging

       him with other offenses related to or giving rise to [that] charge[.]” N.C.G.S. § 14-

       415.1(c) (2019).

¶ 14          Defendant’s charge of possession of a firearm by a felon was contained in a

       single indictment with two other charges: possession of a firearm with an

       altered/removed serial number and carrying a concealed weapon. Defendant quotes

       N.C.G.S. § 14-415.1(c) and asserts these charges are “relate[d] to or giv[e] rise to” the

       possession of a firearm by a felon charge, given that all three charges pertain to the

       same weapon and arose from the same search.                In support of his contention,

       Defendant cites Wilkins, where we held the language of N.C.G.S. § 14-415.1(c)

       “mandates that a charge of [p]ossession of a [f]irearm by a [f]elon be brought in a

       separate indictment from charges related to it[.]” Wilkins, 225 N.C. App. at 497, 737
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       S.E.2d at 794.

¶ 15         In Wilkins, the defendant was indicted for possession of a firearm by a felon

       and assault with a deadly weapon. Id. at 493, 737 S.E.2d at 793. Both charges were

       listed in the same indictment, referred to the same weapon, and arose from the same

       incident–the defendant’s use of a firearm during a robbery. Id. at 496, 737 S.E.2d at

       794. Giving “effect to the intent of the legislature as expressed in the statute’s plain

       language[,]” we concluded the State’s failure to obtain a separate indictment for that

       charge rendered it “fatally defective, and thus invalid.” Id. at 497, 737 S.E.2d at 794.

       As a result, we held the trial court lacked jurisdiction over the charge of possession

       of a firearm by a felon, and vacated the defendant’s conviction for the offense. Id.
¶ 16         In response to Defendant’s arguments regarding the separate indictment

       requirement, the State urges that Wilkins, and any cases consistent with it, must be

       read in light of State v. Brice, where our Supreme Court addressed a special

       indictment provision contained in N.C.G.S. § 15A-928(b). State v. Brice, 370 N.C.

       244, 249, 806 S.E.2d 32, 36 (2017). N.C.G.S. § 15A-928(b) requires, inter alia, that

       “[a]n indictment or information for the offense must be accompanied by a special

       indictment . . . .” N.C.G.S. § 15A-928(b) (2019). In Brice, our Supreme Court noted

       that while the special indictment provision was “couched in mandatory terms, that

       fact, standing alone, does not make them jurisdictional in nature.” Brice, 370 N.C. at

       253, 806 S.E.2d at 38. After “a careful examination of the language . . . , coupled with
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       an analysis of the purposes sought to be served[,]” our Supreme Court ultimately

       concluded that the special indictment provision in N.C.G.S. § 15A-928(b) was not

       jurisdictional in nature, and as a result, the defendant could not challenge an

       indictment’s failure to comply with that special indictment provision for the first time

       on appeal. Id. The State argues we should apply this same reasoning to the present

       case to conclude that the separate indictment provision contained in N.C.G.S. § 14-

       415.1(c) does not constitute a jurisdictional requirement, and consequently,

       Defendant’s challenge to the indictment has been waived because he raised it for the

       first time on appeal.

¶ 17         However, we must follow the well-established principle that “[w]here a panel

       of the Court of Appeals has decided the same issue . . . a subsequent panel of the same

       court is bound by that precedent, unless it has been overturned by a higher court.”

       In re Civil Penalty, 324 N.C. 373, 384, 379 S.E.2d 30, 37 (1989) (emphasis added).

       Our Supreme Court’s decision in Brice pertained to a special indictment provision in

       a completely different statute, while our decision in Wilkins concerned the same issue

       posed in the present case by Defendant: the separate indictment provision in N.C.G.S.

       § 14-415.1(c).

¶ 18         Consistent with our decision in Wilkins, we hold the State’s failure to obtain a

       separate indictment for the offense of possession of a firearm by a felon, as mandated

       by N.C.G.S. § 14-415.1(c), rendered the indictment fatally defective and invalid as to
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       that charge.   Accordingly, the trial court lacked jurisdiction over the charge of

       possession of a firearm by a felon. See Wilkins, 225 N.C. App. at 497, 737 S.E.2d at

       794. Defendant’s conviction for possession of a firearm by a felon in violation of

       N.C.G.S. § 14-415.1 is vacated.

                                      B. Motion to Suppress

¶ 19         Defendant also challenges the trial court’s denial of his pretrial Motion to

       Suppress, and subsequent admission of the firearm seized from the center console of

       his vehicle into evidence at trial, on the grounds that the firearm was retrieved

       through an unreasonable search and seizure in violation of the United States and

       North Carolina constitutions. See Mapp v. Ohio, 367 U.S. 643, 655, 6 L. Ed. 2d 1081,

       1090 (holding the Fourth Amendment of the United States Constitution applies to

       the states through the Due Process Clause of the Fourteenth Amendment), reh’g

       denied, 368 U.S. 871, 7 L. Ed. 2d 72 (1961); State v. Garner, 331 N.C. 491, 506, 417

       S.E.2d 502, 510 (1992) (“Article I, Section 20 of [the North Carolina] Constitution,

       like the Fourth Amendment to the United States Constitution, prohibits

       unreasonable searches and seizures[.]”).        After addressing whether Defendant

       properly preserved this matter for appellate review, we examine whether the trial

       court’s Order Denying Defendant’s Motion to Suppress Evidence made adequate

       findings of fact pertaining to the material conflict of the accessibility of the firearm

       seized from the center console area.
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       1. Preservation

¶ 20         Defendant filed a pretrial Motion to Suppress items seized during the 25 April

       2018 search of his vehicle, which the trial court denied. However, Defendant failed

       to raise a renewed objection at trial when the State introduced the seized firearm,

       and photographs of it, into evidence.      Accordingly, the issue was not properly

       preserved for appellate review. See State v. Golphin, 352 N.C. 364, 463, 533 S.E.2d

       168, 232 (2000) (citation omitted) (“A defendant cannot rely on his pretrial motion to

       suppress to preserve an issue for appeal. His objection must be renewed at trial.”),

       cert. denied, 532 U.S. 931, 149 L. Ed. 2d 305 (2001).

¶ 21         However, Defendant “specifically and distinctly” argues on appeal that the

       trial court’s denial of his motion, and subsequent admission of the firearm into

       evidence, amounted to plain error. See State v. Waring, 364 N.C. 443, 508, 701 S.E.2d

       615, 655 (2010) (marks omitted) (“In criminal cases, a question which was not

       preserved by objection nevertheless may be made the basis of an [appeal] where the

       judicial action questioned is specifically and distinctly contended to amount to plain

       error.”), cert. denied, 565 U.S. 832, 181 L. Ed. 2d 53 (2011); see also N.C. R. App. P.

       10(a)(4) (2021).

       2. Plain Error

¶ 22         Our Supreme Court has held:

                    For error to constitute plain error, a defendant must
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                    demonstrate that a fundamental error occurred at trial. To
                    show that an error was fundamental, a defendant must
                    establish prejudice–that, after examination of the entire
                    record, the error had a probable impact on the jury’s
                    finding that the defendant was guilty. Moreover, because
                    plain error is to be applied cautiously and only in the
                    exceptional case, the error will often be one that seriously
                    affects the fairness, integrity or public reputation of
                    judicial proceedings.

       State v. Lawrence, 365 N.C. 506, 518, 723 S.E.2d 326, 334 (2012) (marks and citations

       omitted). We “apply the plain error standard of review to unpreserved instructional

       and evidentiary errors in criminal cases.” State v. Maddux, 371 N.C. 558, 564, 819

       S.E.2d 367, 371 (2018) (reiterating the plain error standard from Lawrence, 365 N.C.

       at 518, 723 S.E.2d at 334).

¶ 23         “In conducting our review for plain error, we must first determine whether the

       trial court did, in fact, err in denying Defendant’s motion to suppress.” State v.

       Powell, 253 N.C. App. 590, 594, 595, 800 S.E.2d 745, 748-49 (2017) (noting that, in a

       plain error analysis regarding the denial of a motion to suppress, we apply the normal

       standard of review to determine whether error occurred).

¶ 24         “The standard of review in evaluating the denial of a motion to suppress is

       whether competent evidence supports the trial court’s findings of fact and whether

       the findings of fact support the conclusions of law.” State v. Jackson, 368 N.C. 75, 78,

       772 S.E.2d 847, 849 (2015). “Competent evidence is evidence that a reasonable mind

       might accept as adequate to support the finding.” State v. Ashworth, 248 N.C. App.
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       649, 651, 790 S.E.2d 173, 176, disc. rev. denied, 369 N.C. 190, 793 S.E.2d 694 (2016).

       a. Findings of Fact

¶ 25         Defendant argues that the trial court made erroneous findings of fact in its

       Order Denying Defendant’s Motion to Suppress Evidence, specifically contending that

       Findings of Fact 23 and 25 were not supported by competent evidence. Finding of

       Fact 23 states:

                    23. That afterwards, [Sgt.] Flowers re-approached
                    Defendant and asked him if there were any other firearms
                    in the vehicle, to which Defendant replied there were not.
                    [Sgt.] Flowers then began to search the vehicle. He
                    concentrated on the front driver’s side floorboard and
                    center console area because that is where the odor of
                    marijuana smelled strongest to him.

       The finding immediately preceding Finding of Fact 23 pertained to Sgt. Mackey’s

       discovery of the first firearm underneath the vehicle’s passenger seat. Defendant

       claims Finding of Fact 23 inaccurately states that Sgt. Flowers began searching the

       center console area of the vehicle immediately after Sgt. Mackey’s discovery of the

       first firearm, when Sgt. Mackey’s testimony established both he and Sgt. Flowers

       conducted individual searches that bore no fruit prior to the search referenced in

       Finding of Fact 23.

¶ 26         However, the testimony Defendant references, where Sgt. Mackey stated “I

       searched it once; he searched it once because he started on the driver’s side and I

       started on the passenger side[,]” does not establish a clear timeline for these searches.
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       This testimony could be reasonably construed to indicate these initial searches

       occurred prior to, or concurrently with, the search of the center console area by Sgt.

       Flowers referenced in Finding of Fact 23. Further, the language “[t]hat afterwards”

       merely indicates that Sgt. Flowers’ discovery of a firearm on the driver’s side of the

       vehicle occurred after Sgt. Mackey’s discovery of a firearm underneath the passenger

       seat. This general timeline was not disputed and is corroborated by Defendant’s own

       challenge on appeal.

¶ 27         Sgt. Mackey’s testimony was “evidence that a reasonable mind might accept as

       adequate to support the finding” that Sgt. Flowers searched the driver’s side of the

       vehicle and located a firearm in the center console area after Sgt. Mackey discovered

       a firearm underneath the passenger seat. See Ashworth, 248 N.C. App. at 651, 790

       S.E.2d at 176. Finding of Fact 23 does not constitute an erroneous finding of fact.

¶ 28         Defendant also argues that Finding of Fact 25 was not supported by competent

       evidence. Finding of Fact 25 states:

                    25. That [Sgt.] Flowers then removed the driver’s side,
                    plastic center console panel from the center console. It took
                    some effort, but no tools were needed. He located a Kahr
                    model CW45 .45-caliber semi-automatic handgun in a
                    natural void behind the panel.

       (Emphasis added).      Defendant challenges this finding of fact for “significantly

       downplay[ing] [the] difficulty [Sgt. Flowers had] in removing the console[,]” and

       further alleges there was no evidence at the suppression hearing to substantiate the
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       portion of the finding that states “no tools were needed.” We agree that this portion

       of Finding of Fact 25 regarding no need for tools was not supported by competent

       evidence.

¶ 29         At the hearing on Defendant’s Motion to Suppress, Sgt. Flowers testified that

       the center console’s plastic covering “[p]retty much” popped right off, but also

       confirmed he “had to get on [his] hands and knees . . . [to] pull [it] loose[.]” He

       admitted it “took a little work” to remove the plastic panel, and stated he did not

       recall whether the center console had screws, or how it came loose. However, no

       further testimony or evidence relating to tools was given at the suppression hearing.

       It was only after the hearing, at trial, that Sgt. Flowers testified that he did not

       require special tools to remove the panel.

¶ 30         “[T]he facts supporting the trial court’s decision to grant or deny a defendant’s

       suppression motion will be established at the suppression hearing on the basis of

       testimony given under oath.” State v. Salinas, 366 N.C. 119, 125-26, 729 S.E.2d 63,

       68 (2012) (emphasis added) (marks omitted) (citing N.C.G.S. § 15A-977(d) (2011)). In

       reviewing the testimony presented at the hearing on Defendant’s Motion to Suppress,

       there was no “evidence that a reasonable mind might accept as adequate to support

       the finding” that “no tools were needed” in Sgt. Flowers’ removal of the center console

       panel. See Ashworth, 248 N.C. App. at 651, 790 S.E.2d at 176. Further, this portion

       of Finding of Fact 25 contradicts Sgt. Flowers’ own testimony at the hearing on
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       Defendant’s Motion to Suppress, where he stated that he did not recall whether the

       panel had screws or how it came loose.

¶ 31          Therefore, this challenged portion of Finding of Fact 25–“no tools were

       needed”–was unsupported by evidence presented at the Motion to Suppress hearing,

       and is not binding on appeal. See State v. Otto, 366 N.C. 134, 136, 726 S.E.2d 824,

       827 (2012).

       b. Conclusions of Law and Denial of the Motion to Suppress

¶ 32          We next determine whether–in the absence or presence of the aforementioned

       portion of Finding of Fact 25 and the trial court’s other related finding of fact3–the


              3 Though not referenced by Defendant in his challenge on appeal, we note that the

       trial court’s Finding of Fact 27, which states “on re-direct examination, [Sgt.] Flowers
       described the Kahr firearm as ‘readily accessible’ to someone who knew it was there, as he
       could feel it and see it without removing the panel[,]” cannot properly be considered as a
       finding of fact, as it reflects a mere recitation of testimony. See In re: N.D.A., 373 N.C. 71,
       75, 833 S.E.2d 768, 772 (2019) (marks omitted) (“We agree with the Court of Appeals that
       recitations of the testimony of [a] witness do not constitute findings of fact by the trial
       judge.”); State v. Lang, 309 N.C. 512, 520, 308 S.E.2d 317, 321 (1983) (“Although . . .
       recitations of testimony may properly be included in an order denying suppression, they
       cannot substitute for findings of fact resolving material conflicts.”).
               Our review must be “limited to those facts found by the trial court and the conclusions
       reached in reliance on those facts, not the testimony recited by the trial court in its order.”
       State v. Derbyshire, 228 N.C. App. 670, 679-80, 745 S.E.2d 886, 892-93 (2013) (emphasis
       added) (holding “mere recitation of testimony . . . is not sufficient to constitute a valid finding
       of fact”), disc. rev. denied, 367 N.C. 289, 753 S.E.2d 785 (2014). Accordingly, in determining
       whether the trial court made proper findings of fact as to the material conflict of the firearm’s
       accessibility, we limit our review to the trial court’s proper findings of fact. We further note
       that this recitation of Sgt. Flowers’ testimony regarding his subjective opinion as to the
       firearm’s accessibility, which the trial court erroneously designated as a finding of fact,
       cannot provide the objective probable cause necessary to conduct a warrantless search of the
       vehicle. See State v. Burwell, 256 N.C. App. 722, 733, 808 S.E.2d 583, 592 (2017) (citing
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trial court’s remaining findings of fact support its conclusions of law and denial of

Defendant’s Motion to Suppress. In its order denying the motion, the trial court made

the following conclusions of law:

              3. . . . [Sgt.] Flowers had reasonable and articulable
              suspicion of criminal activity to justify a motor vehicle stop
              based upon the information which he received from his
              MDT regarding the registration and driver’s license
              information relating to [Defendant’s vehicle]; . . . .

              4. That the positive identification of Defendant as the
              driver . . . justified further detainment[.]

              5. That immediately after engaging Defendant in
              Defendant’s vehicle, [Sgt.] Flowers developed probable
              cause to conduct a warrantless search of the [vehicle] due
              to the “relatively strong” odor of marijuana emanating
              from the interior of the vehicle, particularly after the
              passenger’s admission that marijuana had just been
              smoked. . . .

              6. That the discovery of the first firearm under the
              passenger’s seat by [Sgt.] Mackey provided additional
              probable cause to search the vehicle, as it supported a
              second violation, to wit: Carrying a Concealed Weapon . . .
              , and more concealed weapons may have been present.

              7. That [Sgt.] Flowers’ decision to search the [vehicle] and
              the subsequent search thereof − including the scope of that
              search − was reasonably-based upon the totality of the


Devenpeck v. Alford, 543 U.S. 146, 160 L. Ed. 2d 537 (2004)) (“[W]arrantless arrests are
reasonable under the Fourth Amendment if there is objective probable cause to arrest for the
violation of an offense.”), disc. rev. denied, appeal dismissed, 370 N.C. 569, 809 S.E.2d 873(2018); see also State v. McClendon, 350 N.C. 630, 636, 517 S.E.2d 128, 132 (1999) (“[F]or
situations arising under [the North Carolina] Constitution, we hold that an objective
standard, rather than a subjective standard, must be applied to determine the
reasonableness of police action related to probable cause.”).
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                    circumstances, and such circumstances were sufficiently
                    strong in and of themselves to establish probable cause for
                    this search and the resulting arrest of Defendant for the
                    charges of Possession of Firearm by Felon, Possession of
                    a Firearm with Altered/Removed Serial Number, Carrying
                    a Concealed Weapon, and Driving While License Revoked
                    − Not Impaired Revocation.

                    8. That the stop, investigation, detention, and arrest of
                    Defendant did not constitute a violation of the federal or
                    state constitutions, and it was in compliance with the
                    North Carolina Criminal Procedure Act contained in
                    Chapter 15A of the North Carolina General Statutes.

       Defendant argues the trial “court’s conclusion that there was probable cause . . . was

       in conflict with the testimony of Sgt. Flowers.”

¶ 33         Both the United States Constitution and our state constitution protect

       individuals from unreasonable searches and seizures, and evidence seized in violation

       of these constitutional protections must be suppressed. U.S. Const. amend. IV; N.C.

       Const. art. I, § 20; see Garner, 331 N.C. at 505-06, 417 S.E.2d at 510; Mapp, 367 U.S.

       at 655, 6 L. Ed. 2d at 1090.

¶ 34         We note that Sgt. Flowers’ action of removing the center console constituted a

       separate search from the search for marijuana that was the lawful objective of his

       entry into the driver’s side of the vehicle. See Arizona v. Hicks, 480 U.S. 321, 324-25,

       94 L. Ed. 2d 347, 353-54 (1987) (holding an officer’s “moving of [stereo] equipment . .

       . constitute[d] a [search] separate and apart from the search for the shooter, victims,

       and weapons that was the lawful objective of [the police officer’s] entry into the
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       apartment.”).

¶ 35          Merely inspecting the portion of the firearm that came into Sgt. Flowers’ view

       during the search for marijuana was not an independent search, as it did not produce

       an additional invasion of Defendant’s privacy interest. See id. at 325, 94 L. Ed. 2d at

       354. However, “taking action, unrelated to the objectives of the authorized intrusion,

       which exposed to view concealed portions of [the vehicle’s] contents, did produce a

       new invasion of [Defendant’s] privacy unjustified by the exigent circumstance that

       validated the entry.” Id. The “distinction between looking at a suspicious object in

       plain view and moving it even a few inches is much more than trivial for purposes of

       the Fourth Amendment.” Id. (marks omitted).

¶ 36         Therefore, it must be determined whether this independent search of the

       console area was reasonable. The lack of a relationship between Sgt. Flowers’ search

       of the center console area and the initial entry to the vehicle does not render the

       search ipso facto unreasonable, as:

                    That lack of relationship always exists with regard to
                    action validated under the plain view doctrine[.] . . . It
                    would be absurd to say that an object could lawfully be
                    seized and taken from the premises, but could not be moved
                    for closer examination. It is clear, therefore, that the
                    search here was valid if the plain view doctrine would have
                    sustained a seizure of the [firearm]. . . . [I]n order to invoke
                    the plain view doctrine[,] . . . probable cause [to believe the
                    item was evidence of a crime] is required.

       Id. at 325-26, 94 L. Ed. 2d at 354-55 (marks omitted).
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¶ 37         “Objects which are in the plain view of a law enforcement officer who has the

       right to be in the position to have that view are subject to seizure and may be

       introduced into evidence.” State v. Hunter, 299 N.C. 29, 34, 261 S.E.2d 189, 193
       (1980). Under the plain view doctrine:

                    [P]olice may seize contraband or evidence if (1) the officer
                    was in a place where he had a right to be when the evidence
                    was discovered; (2) the evidence was discovered
                    inadvertently; and (3) it was immediately apparent to the
                    police that the items observed were evidence of a crime or
                    contraband.

       State v. Graves, 135 N.C. App. 216, 219, 519 S.E.2d 770, 772 (1999) (emphasis added).

¶ 38         Defendant does not challenge whether the officers had the authority to enter

       his vehicle to search for marijuana. Thus, the first prong of the plain view doctrine

       is not at issue. Additionally, there was testimony at the Motion to Suppress hearing

       supporting that Sgt. Flowers’ initial discovery of the firearm occurred inadvertently–

       while searching for marijuana and reaching in and around the vehicle’s center console

       area–and    Defendant    does   not    challenge   whether   the   discovery   occurred

       inadvertently, so the second prong of the plain view doctrine is also not at issue.

¶ 39         However, Defendant contends that the seizure does not comply with the third

       prong of the plain view doctrine and argues that it was not “immediately apparent”

       to Sgt. Flowers that the handgrip of the firearm constituted evidence of the crime of

       carrying a concealed weapon because it was not within easy reach and readily
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       accessible to Defendant.

¶ 40         “An item is immediately apparent under the plain view doctrine if the police

       have probable cause to believe that what they have come upon is evidence of criminal

       conduct.” State v. Haymond, 203 N.C. App. 151, 162, 691 S.E.2d 108, 119 (marks

       omitted), disc. rev. denied, 364 N.C. 600, 704 S.E.2d 275 (2010). “The substance of all

       the definitions of probable cause is a reasonable ground for belief of guilt.” State v.

       Zuniga, 312 N.C. 251, 261, 322 S.E.2d 140, 146 (1984) (marks omitted). “Probable

       cause exists where the facts and circumstances within [an] officer’s knowledge and of

       which they had reasonable trustworthy information are sufficient in themselves to

       warrant a [person] of reasonable caution in the belief that an offense has been or is

       being committed.” Id. (marks omitted).

¶ 41         “The essential elements of carrying a concealed weapon in violation of N.C.G.S.

       § 14-269(a) are: (1) [t]he accused must be off his own premises; (2) he must carry a

       deadly weapon; and (3) the weapon must be concealed about his person.” State v.

       Hill, 227 N.C. App. 371, 380, 741 S.E.2d 911, 918 (marks omitted), disc. rev. denied,

       appeal dismissed, 367 N.C. 223, 747 S.E.2d 577 (2013).         The weapon does not

       necessarily need to be concealed “on the person of the accused, but in such a position

       as gives him ready access to it[.]” Id. at 381, 741 S.E.2d at 918 (emphasis added).

       The weapon must be “concealed near, in close proximity to him, and within his

       convenient control and easy reach, so that he could promptly use it, if prompted to do
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       so by any violent motive.” State v. Gainey, 273 N.C. 620, 623, 160 S.E.2d 685, 687
       (1968).

¶ 42         In his testimony at the Motion to Suppress hearing, Sgt. Flowers stated the

       firearm was “pretty hard to get to[,]” and confirmed he had to get on his hands and

       knees to remove the plastic covering of the center console. However, Sgt. Flowers

       also testified that he believed “if you knew [the firearm] was there, you could get it

       out just by prying the panels [loose] without breaking it all the way off.” He testified

       that he “could agree” with defense counsel that the firearm would not be readily

       accessible if the panel was not removed, but also said “[i]t could have been readily

       available. I did not have knowledge of how to pry that piece of material off. . . . I can’t

       confirm whether it’s easy or not easy to get to. I don’t own the vehicle.”

¶ 43         Based on this conflicting testimony, it is unclear what degree of difficulty Sgt.

       Flowers experienced in attempting to remove the center console panel.                 The

       contradictory evidence regarding this degree of difficulty is a material conflict

       requiring findings of fact, as establishing how difficult it was to remove the center

       console panel is a prerequisite to determining whether or not the firearm was “readily

       accessible” to create probable cause that the firearm constituted evidence of the crime

       of carrying a concealed weapon in violation of N.C.G.S. § 14-269(a).

¶ 44         The trial court’s Order Denying Defendant’s Motion to Suppress Evidence did

       not contain any findings of fact related to the degree of difficulty Sgt. Flowers had in
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                                          Opinion of the Court



       removing the center console panel and retrieving the firearm. As a result, the trial

       court failed to make necessary findings to resolve a material conflict presented by the

       evidence during the Motion to Suppress hearing: whether the firearm was within

       Defendant’s “convenient control and easy reach, so that he could promptly use it,”

       such that there was probable cause to believe it constituted evidence of the crime of

       illegally carrying a concealed weapon. See id.

¶ 45         Without resolving this material conflict through adequate findings of fact, the

       trial court’s conclusions regarding probable cause are not supported.          Further,

       without adequate findings of fact regarding the firearm’s accessibility, the trial court

       could not properly rule on Defendant’s Motion to Suppress.

       3. Necessary Findings on Remand

¶ 46         The trial court’s failure to make necessary findings of fact prevents us from

       conducting meaningful appellate review of the material conflict presented by the

       evidence, and this error was capable of sufficiently prejudicing Defendant. See State

       v. Horner, 310 N.C. 274, 279, 311 S.E.2d 281, 285 (1984) (“Findings and conclusions

       are required in order that there may be a meaningful appellate review of the

       decision.”). We must remand for the trial court to make adequate findings of fact

       resolving whether or not the firearm was “readily accessible” to Defendant such that

       it objectively created probable cause to believe it constituted evidence of illegally

       carrying a concealed weapon. In making this determination, the trial court’s findings
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                                          Opinion of the Court



       of fact must be limited to evidence adduced at the hearing on Defendant’s Motion to

       Suppress and may not substitute later testimony or mere recitations of testimony at

       the Motion to Suppress hearing for findings of fact on the motion. See Lang, 309 N.C.

       at 520, 308 S.E.2d at 321 (“Although . . . recitations of testimony may properly be

       included in an order denying suppression, they cannot substitute for findings of fact

       resolving material conflicts.”).

¶ 47         We therefore remand for further findings of fact consistent with this opinion.

         C. Instruction Regarding Actual Knowledge of Serial Number Removal

¶ 48         On remand, the determination of the firearm’s accessibility will directly impact

       not only the validity of the trial court’s order denying Defendant’s suppression motion

       and Defendant’s conviction for the non-vacated offense of carrying a concealed

       weapon, but also Defendant’s conviction for possession of a firearm with an

       altered/removed serial number. Consequently, Defendant’s third challenge raised on

       appeal pertaining to the trial court’s jury instruction as to the charge of possession of

       a firearm with an altered/removed serial number, as well as his claim of ineffective

       assistance of counsel, are dismissed without prejudice as they are not yet ripe.

                                           CONCLUSION

¶ 49         The trial court lacked jurisdiction over the charge of possession of a firearm by

       a felon due to the State’s failure to obtain a separate indictment for that charge in

       compliance with N.C.G.S. § 14-415.1.         Further, the trial court failed to make
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necessary findings of fact regarding the seized firearm’s accessibility, this error was

potentially sufficiently prejudicial to Defendant, and further findings of fact are

needed to resolve the material conflict of the firearm’s accessibility. In light of the

impact these findings of fact may have on Defendant’s remaining non-vacated

convictions, Defendant’s challenge to the trial court’s jury instruction as to the charge

of possession of a firearm with an altered/removed serial number, as well as his claim

of ineffective assistance of counsel, are not yet ripe for our consideration.

      VACATED IN PART; REMANDED FOR FURTHER FINDINGS IN PART;

DISMISSED WITHOUT PREJUDICE IN PART.

      Judges DIETZ and CARPENTER concur.
